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ANAPOL WEISS
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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANDREA TAMBURELLO                                      :
27 Cloister Court                                      :
Old Bridge, NJ 08857                                   :
                                      Plaintiff,       :
       v.                                              :
                                                       :
STEPHEN C. HAFLER                                      : CIVIL ACTION NO.:
45 Porter Drive                                        :
Jim Thorpe, PA 18229                                   :
                                                       :
SPIDER LOGISTICS INC.                                  :
2202 West 166th Street                                 :
Markham, IL 60428                                      :
                                                       :
ARKA EXPRESS INC.                                      :
2202 West 166th Street                                 :
Markham, IL 60428                                      :
                                                       :
BJT EXPRESS INC.                                       :
2202 West 166th Street                                 :
Markham, IL 60428                                      :
                                                       :
BULLPEN EXPRESS INC.                                   :
2202 West 166th Street                                 :
Markham, IL 60428                                      :
                                      Defendants.      : JURY TRIAL DEMANDED

                                  PLAINTIFF’S COMPLAINT

       Plaintiff, Andrea Tamburello, by and through her undersigned counsel and the law firm

Anapol Weiss, now file Plaintiff’s Complaint to assert a cause of action for negligence against the

above captioned Defendants, and in support thereof avers as follows:

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                                          THE PARTIES

       1.       Plaintiff, Andrea Tamburello (hereinafter “Plaintiff” and/or “Ms. “Tamburello”), is

an adult individual who resides at 27 Cloister Court, Old Bridge, New Jersey.

       2.       Ms. Tamburello was injured on November 25, 2018 in a two-vehicle accident

caused by a tractor-trailer driver who failed to recognize traffic that had stopped in his path as

described more fully in this Complaint.

       3.       Defendant, Spider Logistics, Inc. (hereinafter “Defendant and/or “Spider”), is a

corporation and/or other business entity, organized, operating and existing under the laws of

Illinois, with a principal place of business located at 2202 West 166th Street, Markham, Illinois.

       4.       Defendant, Arka Express, Inc. (hereinafter “Defendant and/or “Arka”), is a

corporation and/or other business entity, organized, operating and existing under the laws of

Illinois, with a principal place of business located at 2202 West 166th Street, Markham, Illinois.

       5.       Defendant, BJT Express, Inc. (hereinafter “Defendant and/or “BJT”), is a

corporation and/or other business entity, organized, operating and existing under the laws of

Illinois, with a principal place of business located at 2202 West 166th Street, Markham, Illinois.

       6.       Defendant, Bullpen Express, Inc. (hereinafter “Defendant and/or “Bullpen”), is a

corporation and/or other business entity, organized, operating and existing under the laws of

Illinois, with a principal place of business located at 2202 West 166th Street, Markham, Illinois.

       7.       Defendant, Stephen C. Hafler hereinafter “Defendant and/or (“Hafler”), is an adult

resident of the Commonwealth of Pennsylvania, who resides at 45 Porter Drive, Jim Thorpe,

Pennsylvania.




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       8.       At all times material hereto, Defendant Hafler was an agent (actual and/or

apparent), servant, workman and/or employee of Defendants Spider, Arka, BJT and/or Bullpen,

employed under contract as a truck driver and/or freight hauler for said Defendants.

       9.       At all times material hereto, Defendant Hafler acted within the course and scope of

his agency, servitude, and/or employment with the Defendants Spider, Arka, BJT and/or Bullpen.

                                  JURISDICTION AND VENUE

       10.      This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. § 1332.

The amount in controversy is well in excess of the jurisdictional threshold and diversity of

citizenship exists between the parties.

       11.      The amount in controversy is also well in excess of the compulsory arbitration

threshold.

       12.      Venue is proper in the United States District Court for the Middle District of

Pennsylvania under 28 U.S.C. § 1391(b). The causes of action upon which Plaintiff’s Complaint

is based arose in Monroe County, Pennsylvania, which is within the Middle District of

Pennsylvania.

                                              FACTS

       13.      At all times relevant hereto, Ms. Tamburello was a restrained driver of a 2018

Mercedes-Benz CLA 250.

       14.      At approximately 6:00 p.m. on November 25, 2018, Defendant Hafler permissively

operated a Great Dane tractor trailer which owned by his employer, Defendants Spider, Arka, BJT

and/or Bullpen, with VIN number 1FUJGLGR5HLHH8662 and Illinois license plate number

P920648.




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        15.     Defendant Hafler operated the tractor trailer behind Plaintiff Tamburello,

eastbound on I80 in the right lane.

        16.     Traffic was heavy on I80 and Plaintiff Tamburello applied her brake as traffic ahead

of her had slowed and/or stopped.

        17.     Defendant Hafler failed to stop the aforementioned tractor trailer and violently

collided with the rear of Plaintiff Tamburello’s vehicle.

        18.     This crash was in no way caused or contributed to by the Plaintiff Tamburello and

was solely caused by the Defendants in the particular manner set forth herein.

                                      COUNT I - NEGLIGENCE
                         ANDREA TAMBURELLO v. STEPHEN C. HAFLER;
                          SPIDER LOGISTICS, INC.; ARKA EXPRESS, INC.;
                         BJT EXPRESS, INC. AND BULLPEN EXPRESS, INC.

        19.     All paragraphs of this Complaint are incorporated herein by reference as though

fully set forth herein at length.

        20.     The losses, injuries and damages sustained by the Plaintiff Tamburello, as set forth

herein, resulted directly and proximately from the negligent and careless conduct of Defendants

and/or Defendants’ agents, servants, workmen and/or employees, who were negligent, in the

following manner:

                a.      following Plaintiff’s vehicle too closely;

                b.      failing to maintain an assured clear distance;

                c.      failing to maintain control over Defendants’ motor vehicle;

                d.      failing to properly and adequately observe traffic conditions,
                        controls and/or signals;

                e.      failing to operate the motor vehicle according to existing
                        traffic conditions, weather conditions and/or traffic controls;




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    f.    failing to exercise reasonable care and ordinary prudence by
          observing, inspecting, viewing, and paying attention to other
          motorists;

    g.    failing to observe and yield to the right of way of other
          motorists;

    h.    failing to properly and adequately operate Defendants’
          motor vehicle at an acceptable and/or controllable rate of
          speed;

    i.    failing to take proper action to avoid the collision;

    j.    failing to use due care for the safety of the Plaintiff under the
          circumstances;

    k.    operating a commercial vehicle in violation of FMCSR
          regulations and/or internal safety regulations and procedures
          concerning the amount of hours and distances that drivers
          may be on the road;

    l.    failing to employ the use of a co-driver as required by the
          FMCSR and/or internal safety regulations;

    m.    operating a commercial vehicle in violation of FMCSR
          and/or internal safety regulations and procedures for
          operation of the tractor, the trailer, and the load over public
          highways;

    n.    failing to properly and adequately operate said motor vehicle
          in accordance with traffic laws and/or regulations and
          ordinances of the Commonwealth of Pennsylvania relating
          to the operation of motor vehicles, including, inter alia: 75
          Pa.C.S.A. §3714, 75 Pa.C.S.A. §3310A (Following too
          Closely), 75 Pa.C.S.A. §3323 (Stop Signs and Yield Signs),
          75 Pa.C.S.A. §3361 (Driving Vehicle at Safe Speed), 75
          Pa.C.S.A. 3309(1)(Remaining in / Changing Lanes);

    o.    failing to inspect Defendants’ motor vehicle for defective
          and dangerous conditions such as unsafe braking and
          warning/signaling components and systems;

    p.    failing to maintain Defendants’ motor vehicle in a safe
          manner, free from malfunctions, defects and dangerous
          conditions;



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               q.      failing to properly and adequately prevent individuals
                       Defendant knew operated or should have known to have
                       operated a motor vehicle in a carelessness and negligent
                       manner from operating his/her motor vehicle;

               r.      failing to properly and adequately entrust said motor vehicle
                       to individuals who operate motor vehicles in a careful and
                       non-negligent manner; and

               s.      negligence per se.

       21.     As a result of the negligence and carelessness of the Defendants and/or Defendants’

agents, servants, workmen and/or employees, Plaintiff Tamburello, suffered and continues to

suffer serious impairment of bodily functions and serious permanent injuries including, but not

limited to: post-traumatic headache disorder; cervical derangement with C3-4 disc bulge; C4-5

disc herniations; C6-7 disc bulge; lumbosacral derangement with L2-3 and L5-S1 herniations; left

hand, hip and knee arthropathy; left paracentral/left lateral recess T6-7 disc herniation with annular

tear; mild desiccation of T4, T5-T6 and 7 discs; left hip surgery; scarring; decreased function and

mobility; other orthopedic, neurological and internal injuries and aggravations; she sustained

arthritic and vascular changes; she sustained severe shock and injury to her nerves and nervous

system; she has in the past required and will in the future continue to require medicines, medical

care, physical therapy, and surgical intervention.

       22.     As a further result of the negligence and carelessness of the Defendants and/or

Defendants’ agents, servants, workmen and/or employees, Plaintiff Tamburello suffered and will

continue to suffer cognitive and visual impairments, aches, pains and mental anguish; and she has

in the past been disabled and will in the future be disabled from performing her usual duties,

occupations and avocations.




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        23.     As a further result of the negligence and carelessness of the Defendants and/or

Defendants’ agents, servants, workmen and/or employees, Plaintiff Tamburello has suffered a

permanent diminution of her ability to enjoy life and life's pleasures.

        24.     As a result of the negligence and carelessness of Defendants and/or Defendants’

agents, servants, workmen and/or employees, Plaintiff Tamburello incurred excess medical

expenses, will continue to incur medical expenses into the future, may be subject to outstanding

medical bills and liens, and has incurred other outstanding bills related to the crash which are

recoverable as damages.

        25.     As a further result of the negligence and carelessness of the Defendants and/or

Defendants’ agents, servants, workmen and/or employees, Plaintiff Tamburello suffered and is

likely to continue to suffer significant wage loss and loss of earning capacity.

        26.     As a result of the carelessness and negligence of Defendants and/or Defendants’

agents, servants, workmen and/or employees, Plaintiff Tamburello suffered additional economic

losses which are recoverable as damages.

        WHEREFORE, Plaintiff claims of Defendants, and/or Defendants’ agents, servants,

workmen and/or employees, a sum in excess of Two Hundred and Fifty-Thousand Dollars

($250,000.00), plus interest, costs, attorney’s fees, and any other relief this Honorable Court deems

appropriate.

                               COUNT II – VICARIOUS LIABILITY
                         ANDREA TAMBURELLO V. STEPHEN C. HAFLER;
                          SPIDER LOGISTICS, INC.; ARKA EXPRESS, INC.;
                         BJT EXPRESS, INC. AND BULLPEN EXPRESS, INC.

        27.     All paragraphs of this Complaint are incorporated herein by reference as though

fully set forth herein at length.




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        28.      At the time of the subject collision, Defendant Hafler was acting as a servant, agent,

ostensible agent and/or employee of Defendants Spider, Arka, BJT and/or Bullpen.

        29.      Defendants Spider, Arka, BJT and/or Bullpen are responsible for and vicariously

liable for the consequences of the actions and inactions of its employee, servant, agent and/or

ostensible agent, Defendant Hafler.

        30.      The foregoing paragraphs of Count I which set forth Plaintiff’s injuries and

damages are incorporated herein by reference and made a part hereof as if set forth in full.

        31.      The injuries sustained by Plaintiff were a direct and proximate result of the

aforesaid negligence and carelessness of the Defendants and were not caused or contributed to by

any conduct of the Plaintiffs

        WHEREFORE, Plaintiff claims of Defendants, and/or Defendants’ agents, servants,

workmen and/or employees, a sum in excess of Two Hundred and Fifty-Thousand Dollars

($250,000.00), plus interest, costs, attorney’s fees, and any other relief this Honorable Court deems

appropriate.


                            COUNT III – CORPORATE NEGLIGENCE
              ANDREA TAMBURELLO V. SPIDER LOGISTICS, INC.; ARKA EXPRESS, INC.;
                       BJT EXPRESS, INC. AND BULLPEN EXPRESS, INC.

        32.      All paragraphs of this Complaint are incorporated herein by reference as though

fully set forth herein at length.

        33.      Defendants were negligent in the hiring, training and supervision of Defendant

Hafler in the following manner:

                 a. failing to assure that Defendant Hafler was properly qualified
                    to drive Defendants’ truck;

                 b. failing to assure that Defendant Hafler had the physical ability
                    to safely drive Defendants’ truck;

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              c. failing to assure that Defendant Hafler was properly trained to
                 drive Defendants’ truck;

              d. failing to properly supervise Defendant Hafler;

              e. failing to properly assess and monitor Defendant Hafler’s
                 ability to drive Defendants’ truck, and remove Defendant
                 Hafler from service/employment;

              f. failing to enforce FMCSR regulations concerning the number
                 of hours and distances which its drivers may be on the road;

              g. failing to enforce FMCSR and/or internal safety regulations and
                 procedures concerning the number of hours and distances
                 which its drivers may be on the road;

              h. failing to enforce FMCSR and/or internal safety regulations and
                 procedures for operation of the tractor, the trailer, and the load
                 over public highways

              i. failing to ensure that Defendant Hafler was accompanied by a
                 co-driver as required by the FMCSR and/or internal safety
                 regulations;

              j. Seeking out and selecting out and selecting Defendant Hafler
                 to make the subject trip.


       34.    Defendants were additionally negligent in connection to Defendant Hafler’s

operation of Defendants’ motor vehicle as follows:

              a. failing to properly and adequately prevent individuals
                 Defendant knew operated or should have known to have
                 operated a motor vehicle in a carelessness and negligent
                 manner;

              b. failing to properly and adequately entrust said motor vehicle to
                 individuals who operate motor vehicles in a careful and non-
                 negligent manner;

              c. failing to inspect Defendants’ motor vehicle for defective and
                 dangerous conditions such as unsafe breaking components and
                 systems; and



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               d. failing to maintain Defendants’ motor vehicle in a safe manner,
                  free from malfunctions, defects and dangerous conditions.


       35.     The foregoing paragraphs of Count I which set forth Plaintiff’s injuries and

damages are incorporated herein by reference and made a part hereof as if set forth in full.

       36.     The injuries sustained by Plaintiff were a direct and proximate result of the

aforesaid negligence and carelessness of the Defendants and were not caused or contributed to by

any conduct of the Plaintiff.

       WHEREFORE, Plaintiff claims of Defendants, and/or Defendants’ agents, servants,

workmen and/or employees, a sum in excess of Two Hundred and Fifty-Thousand Dollars

($250,000.00), plus interest, costs, attorney’s fees, and any other relief this Honorable Court deems

appropriate.

                                        JURY DEMAND

       Plaintiff hereby demands trial by jury in accordance with the Federal Rules of Civil

Procedure.

                                              Respectfully submitted,

                                              ANAPOL WEISS



                                      BY:     ________________________
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                                              Ryan D. Hurd, Esquire
Date: May 10, 2019                            ID: 25631 and 205955
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